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                        UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF OKLAHOMA


  ANGELA FORRESTER,                                    )
                                                       )
                         Plaintiff,                    )
                                                       )
  v.                                                   )      Case No. 14-CV-0306-CVE-PJC
                                                       )
  APEX REMINGTON, INC., d/b/a Apex                     )
  Remington Pipe & Supply Co.,                         )
                                                       )
                         Defendant.                    )

                                            JUDGMENT

         This matter has come before the Court for consideration and an opinion and order, Dkt. # 47,

  granting summary judgment in favor of defendant on all of plaintiff’s claims has been entered.

         IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that judgment for

  defendant and against plaintiff is hereby entered.

         DATED this 1st day of April, 2015.
